         Case 1:18-cv-01519 Document 1 Filed 12/14/18 Page 1 of 6 PageID #: 1




                               IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                                        BLUEFIELD DIVISION

JOHN EDMONDS,                                                     )
                                                                  )
          Plaintiff,                                              )
                                                                  )
v.                                                                )         Case No.       1:18-cv-01519
                                                                  )
ALTICE TECHNICAL SERVICES US LLC,                                 )
                                                                  )
          Defendant.                                              )

                                            NOTICE OF REMOVAL

          Pursuant to 28 U.S.C. § 1441           et seq.,   Defendant, Altice USA, Inc. 1 ("Altice"), removes

the above-entitled case from the Circuit Court of Mercer County, West Virginia, to the United

States District Court for the Southern District of West Virginia, Bluefield Division. In support of

this Notice, Altice states as follows:

          1.        A civil action denominated as           John Edmonds v. Altice Technical Services US

LLC, Case No. 18-C-274 was commenced in the Circuit Court of Mercer County, West Virginia

on or about October 3, 2018. A copy of the Court's file, including Plaintiffs original Complaint,

is attached hereto as Exhibit A and a copy of the state court docket sheet is attached as Exhibit B.

These papers constitute all process, pleadings, and orders served in the state court action.

Additionally, a copy of this Notice           of Removal      has been filed with the Circuit Court of Mercer

County, West Virginia along with a               Notice of Filing Notice of Removal,              a copy of which is

attached hereto as Exhibit C.




1 Plaintiff improperly named Altice Technical Services US LLC as the defendant in this matter. At all relevant times, Altice
USA. Inc. was Plaintiff's employer, and is thus the proper defendant in this case.


DoclD: 4810-6582-7201. I
Case 1:18-cv-01519 Document 1 Filed 12/14/18 Page 2 of 6 PageID #: 2
Case 1:18-cv-01519 Document 1 Filed 12/14/18 Page 3 of 6 PageID #: 3
Case 1:18-cv-01519 Document 1 Filed 12/14/18 Page 4 of 6 PageID #: 4
Case 1:18-cv-01519 Document 1 Filed 12/14/18 Page 5 of 6 PageID #: 5
Case 1:18-cv-01519 Document 1 Filed 12/14/18 Page 6 of 6 PageID #: 6




                                                   1:18-cv-01519
